Case 1-19-12342-CLB, Doc 5, Filed 11/08/19, Entered 11/08/19 12:22:07,
                Description: Main Document , Page 1 of 7
Case 1-19-12342-CLB, Doc 5, Filed 11/08/19, Entered 11/08/19 12:22:07,
                Description: Main Document , Page 2 of 7
Case 1-19-12342-CLB, Doc 5, Filed 11/08/19, Entered 11/08/19 12:22:07,
                Description: Main Document , Page 3 of 7
Case 1-19-12342-CLB, Doc 5, Filed 11/08/19, Entered 11/08/19 12:22:07,
                Description: Main Document , Page 4 of 7
Case 1-19-12342-CLB, Doc 5, Filed 11/08/19, Entered 11/08/19 12:22:07,
                Description: Main Document , Page 5 of 7
Case 1-19-12342-CLB, Doc 5, Filed 11/08/19, Entered 11/08/19 12:22:07,
                Description: Main Document , Page 6 of 7
Case 1-19-12342-CLB, Doc 5, Filed 11/08/19, Entered 11/08/19 12:22:07,
                Description: Main Document , Page 7 of 7
